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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

INTERNATIONAL SYSTEMS GROUP, INC.,                       ECF Case 21-CV-6301

                              Plaintiff,                 CIVIL ACTION NO.

       - against -                                       COMPLAINT

SETH CARMICHAEL, CARMICHAEL
GALLERY, LLC, and JOHN DOE,

                              Defendants.


       Plaintiff International Systems Group, Inc. (“ISG”), by its attorneys Olsoff | Cahill |

Cossu LLP, as and for its Complaint against defendants Seth Carmichael (“Carmichael”),

Carmichael Gallery, LLC (the “Gallery”), John Doe (“Doe”) and together with Carmichael and

the Gallery, “Defendants”), alleges as follows:

                                     NATURE OF THE ACTION

       1.       This action stems from ISG’s sale via Carmichael and the Gallery of two valuable

artworks, a painting and a sculpture (the “Works”) in reliance on representations Carmichael

made which were blatantly false and which Carmichael made to induce ISG to sell Carmichael

and the Gallery the Works. Worse still, on information and belief, Carmichael forged the

signature of a purported “buyer” on one of the sale agreements with ISG, apparently in order to

mislead ISG into believing that the purported “buyer” was aware of and affirmatively agreed to

the terms of the agreement. Carmichael and the Gallery’s actions render them liable not only for

breach of contract, but also for fraud, both personally and in a corporate capacity.

       2.       To induce ISG to sell the Works at advantageous prices, Carmichael represented

that neither of the Works would be resold within three years of the date of sale, that ISG would
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have the exclusive right of first refusal to repurchase the Works, and that Defendants’ “clients”

to whom he was selling the Works, would also be bound by these restrictions.

       3.       Carmichael’s representations were false. After explicitly agreeing not to do so,

Carmichael and the Gallery quickly sold the Works to buyers who may not have been unaware of

the resale restrictions and rights of first refusal that were conditions of ISG’s sales of the Works.

       4.       Despite Carmichael’s representations, shortly after ISG sold the Works, ISG

discovered from several different sources—sources who had no knowledge of the resale

restrictions or ISG’s rights of first refusal—that the Works were being offered for sale or had

been resold via intermediaries in clear violation of the agreed upon conditions of sale.

       5.       The conditions of ISG’s agreement to sell Carmichael and the Gallery the Works

were material to ISG and non-negotiable because the Works were created by an important living

artist (the “Artist”). Given the Artist’s stature and the need to protect both the value of his

artworks and his long-term artistic legacy, ISG would not have agreed to sell the Works to

Carmichael and the Gallery absent assurances from Carmichael that he was not a speculator

whose goal was in actuality to simply turn around and “flip” the Work to another, unknown

buyer who would potentially pay much more on the “secondary,” i.e., resale, market, whether at

private sale or auction. It is well-recognized in the art market that such resale “flips” cause

instability in the market and pose a risk of devaluing an artist’s work (both commercially and

critically) over the long term.

       6.       Because of Carmichael’s blatant misrepresentations and Carmichael’s and the

Gallery’s egregious breaches of the parties’ agreements, ISG has been significantly harmed—

ISG has lost its valuable rights of first refusal, as well as access to the Artist’s exclusive primary
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market. Despite due demand to Carmichael and the Gallery to resolve this matter, they have

refused to do so. Left with no other recourse, this action followed.

                                    PARTIES AND JURISDICTION

       7.       International Systems Group, Inc. is a duly organized New York corporation with

a principal place of business in New York County.

       8.       On information and belief, Defendant Seth Carmichael is an individual residing in

Evergreen, Colorado.

       9.       On information and belief, Defendant Carmichael Gallery, LLC is a limited

liability company organized under the laws of the state of Florida with an address at 3208 W.

Price Avenue, Tampa, Florida, 33611.

       10.      On information and belief, Defendant John Doe is an individual residing in

Florida and the current possessor of the 2010 Work (defined below).

       11.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 due to diversity of the parties and because the amount in controversy exceeds $75,000.00.

       12.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in the Southern District of New York.

                                                FACTS

Background

       13.      ISG, via its principal, collects and holds works of fine art.

       14.      Among ISG’s acquisitions was a painting created by the Artist in 2015 (the “2015

Work”) and a sculpture created by the Artist in 2010 (the “2010 Work”).

       15.      On information and belief, Carmichael at one point operated an art gallery in Los

Angeles, California called Carmichael Gallery, LLC.
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       16.     On information and belief, sometime after 2012, the California Secretary of State

suspended Carmichael Gallery, LLC.

       17.     On information and belief, on or about 2016-August-16, Carmichael formed

Defendant Carmichael Gallery, LLC, a limited liability company in Florida.

       18.     On information and belief, the Gallery was administratively dissolved by the

Florida Secretary of State on or about 2017-September-22 and was reinstated on or about 2017-

December-15.

       19.     On information and belief, the Gallery was again administratively dissolved by

the Florida Secretary of State on or about 2018-September-28 and was again reinstated on or

about 2019-October-18.

       20.     On information and belief, the Gallery was again administratively dissolved by

the Florida Secretary of State on or about 2020-September-25 and was again reinstated on or

about 2021-January-18.

       21.     On information and belief, at all relevant times, Carmichael, as the sole member

of Carmichael Gallery, LLC and only individual authorized to manage the Carmichael Gallery,

LLC, through his domination of the Gallery abused the privilege of doing business in the

corporate form.

       22.     On information and belief, Carmichael failed to adhere to corporate formalities by

inadequately capitalizing the Gallery.

       23.     On information and belief, Carmichael failed to adhere to corporate formalities by

commingling Carmichael’s and the Gallery’s assets.

       24.     On information and belief, Carmichael failed to adhere to corporate formalities by

failing to maintain active status of the Gallery in accordance with the laws of the State of Florida.
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The Sale of the 2015 Work to Carmichael in June 2018

       25.     In or about June 2018, Carmichael entered into discussions with ISG concerning

the Gallery’s purchase of the 2015 Work, purportedly on behalf of an undisclosed buyer

allegedly based in Asia (Carmichael’s “First Unnamed Asian Client”).

       26.     At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with the power to enter into the contemplated

transaction.

       27.     At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with assets or the availability of assets to pay debts

as they came due.

       28.     Throughout these discussions ISG made it clear that, as a condition of sale, the

2015 Work could not be sold by Carmichael’s First Unnamed Asian Client for a period of three

years from the date of purchase (the “Three-Year Resale Restriction”).

       29.     Throughout these discussions ISG also made it clear that ISG required a right of

first refusal to repurchase the 2015 Work from Carmichael’s First Unnamed Asian Client in the

event that the Unnamed Client wished to sell it (the “Right of First Refusal”).

       30.     Throughout these discussions ISG also made it clear that ISG required that

Carmichael’s First Unnamed Asian Client agree that the 2015 Work would be available for

inclusion in a museum exhibition should the circumstances arise (the “Exhibition Right” and,

together with the Three-Year Resale Restriction and the Right of First Refusal, the “2015 Work

Sale Conditions”).
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       31.     To convince ISG to sell him the 2015 Work, Carmichael made explicit

representations assuring ISG that the 2015 Work Sale Conditions would jointly bind both the

Gallery and Carmichael’s First Unnamed Asian Client.

       32.     Relying on Carmichael’s representations, in June 2018 ISG agreed to sell the

2015 Work to Carmichael’s First Unnamed Asian Client via the Gallery for a sale price of

$415,000.00.

       33.     As part of this agreement, on 2018-June-27, ISG sent Carmichael an email

attaching a revised invoice for the 2015 Work and in which ISG again emphasized the

importance of the Three Year Resale Restriction, writing, “I need to make sure the work will not

be re-sold at least within the next 3 years.”

       34.     Similarly, on 2018-July-25, ISG sent Carmichael an email, writing, “Further to

our SMS exchange, I am confirming that your collector will make [the 2015 Work] . . . available

to museum exhibition at my request. It has been agreed that the sale of [the 2015 Work] will be

kept confidential and your collector agree not to sell it for the 3 years from the date that title

passing . . . Please acknowledge this email as confirmation to our agreement.”

       35.     Carmichael responded that same day, writing, “Confirmed, thanks!”

       36.     ISG, or indeed nearly any art dealer or agent worth its salt, could have found a

buyer for the 2015 Work, whether at auction or via private sale, who would have been willing to

pay a significant premium for the 2015 Work if it was not subject to resale restrictions.

       37.     Even at this time, the sale price was an advantageous sale price for a work by the

Artist, which ISG agreed to only in exchange for adherence to the 2015 Work Sale Conditions.

       38.     Carmichael’s acceptance, on behalf of himself, his corporate entity, and his First

Unnamed Asian Client, of the 2015 Work Sale Conditions was crucial to securing ISG’s
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agreement to sell the 2015 Work, as the 2015 Work Sale Conditions were the primary

mechanisms by which ISG could retain its privileged position as a purchaser of works by the

Artist on the primary market and ensure that it would not get a reputation for “flipping” works by

the Artist.

        39.    If Carmichael, on behalf of himself, the Gallery, and his First Unnamed Asian

Client, had not explicitly agreed to comply with the 2015 Work Sale Conditions, ISG would not

have agreed to sell the 2015 Work.

        40.    Carmichael’s representations concerning his, the Gallery’s, and the First

Unnamed Asian Client’s adherence to the 2015 Work Sale Conditions was a basis of the parties’

bargain.

        41.    ISG relied on Carmichael’s representations and deemed them material to its

efforts to ensure its continued participation in the Artist’s exclusive primary market.

The Sale of the 2010 Work in November 2018

        42.    On or about 2018-November-20, the parties entered into another agreement, this

time for the sale of the 2010 Work (the “November 2018 Sale Agreement”).

        43.    At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with the power to enter into the contemplated

transaction.

        44.    At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with assets or the availability of assets to pay debts

as they came due.
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       45.     At the time that the parties entered into the November 2018 Sale Agreement, ISG

informed Carmichael that ISG was only willing to sell to a buyer who was new to the market and

preferably based outside of the United States.

       46.     Carmichael represented that the 2010 Work would be sold to another Asian buyer

(Carmichael’s “Second Unnamed Asian Client”).

       47.     As with the sale of the 2015 Work, ISG again made clear to Carmichael that as a

condition of sale, ISG required that Carmichael, the Gallery, and the Second Unnamed Asian

Client agree to the Three-Year Resale Restriction in order to purchase the 2010 Work.

       48.     ISG also again made clear to Carmichael that ISG required a Right of First

Refusal to repurchase the 2010 Work from Carmichael’s Second Unnamed Asian Client in the

event that the Second Unnamed Asian Client wished to sell it. (The Three-Year Resale

Restriction for the 2010 Work and the Right of First Refusal for the 2010 Work together are the

“2010 Work Sale Conditions.”)

       49.     As part of the negotiation of the 2010 Work Sale Conditions, Carmichael,

purportedly on behalf of his Second Unnamed Asian Client, rejected terms concerning the

lending of the 2010 Work to museums during the Three-Year Resale Restriction period.

       50.     Carmichael represented to ISG that the reason for rejecting the “museum lending”

term was that his Second Unnamed Asian Client felt it was too “complicated.”

       51.     To convince ISG to sell him the 2010 Work, Carmichael again made explicit

representations assuring ISG that the 2010 Work Sale Conditions would bind Carmichael, the

Gallery, and Carmichael’s Second Unnamed Asian Client.
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       52.     Relying on Carmichael’s representations, ISG executed the November 2018 Sale

Agreement to sell the 2010 Work to Carmichael’s Second Unnamed Asian Client for a sale price

of $1,100,000.00.

       53.     ISG, or indeed nearly any art dealer or agent worth its salt, could have found a

buyer for the 2010 Work, whether at auction or via private sale, who would have been willing to

pay a significant premium for the 2010 Work if it was not subject to resale restrictions.

       54.     Even at this time, the sale price was an advantageous sale price for a work by the

Artist, which ISG only agreed to in exchange for adherence to the 2010 Work Sale Conditions.

       55.     The November 2018 Sale Agreement states: “The Buyer agrees not to sell the

[2010 Work] for the 3 years from the date that title of the [2010 Work] passes to the Buyer.

Subsequently, if offered for sale the Seller will have the right of first refusal to purchase the

[2010 Work] back.”

       56.     ISG insisted on the drafting and execution of the November 2018 Sale Agreement

in order to ensure that the crucial 2010 Work Sale Conditions would directly bind Carmichael’s

Second Unnamed Asian Client as well as Carmichael and the Gallery.

       57.     Carmichael’s Second Unnamed Asian Client purportedly signed the November

2018 Sale Agreement on its own behalf.

       58.     Carmichael also signed the November 2018 Sale Agreement.

       59.     On 2018-November-20, Carmichael sent ISG a partially executed copy of the

November 2018 Sale Agreement, with the Second Unnamed Asian Client’s name and signature

partially redacted.

       60.     Carmichael explained to ISG at that time that such redaction was necessary to

preserve the confidentiality of the Second Unnamed Asian Client (as client confidentiality is a
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common condition of art transactions to avoid circumvention), but that the name of the Second

Unnamed Asian Client could be disclosed in the future if necessary.

       61.     ISG then executed the November 2018 Sale Agreement and emailed it to

Carmichael.

       62.     Carmichael then arranged for the second installment of the purchase price to be

wired to ISG, however, the payment was delayed because, on information and belief, the

Gallery’s bank account had been frozen due to a money laundering investigation, which

Carmichael did not disclose to ISG.

       63.     Carmichael’s acceptance, on behalf of himself, the Gallery, and his Second

Unnamed Asian Client, of the 2010 Work Sale Conditions and the embodiment of those

Conditions into the November 2018 Sale Agreement was crucial to securing ISG’s agreement to

sell the 2010 Work, as the 2010 Work Sale Conditions were the primary mechanisms by which

ISG could retain its privileged position as a purchaser of works by the Artist on the primary

market and ensure that it would not get a reputation of “flipping” works by the Artist.

       64.     If Carmichael, on behalf of himself, the Gallery, and his Second Unnamed Asian

Client, had not explicitly agreed to comply with the 2010 Work Sale Conditions, ISG would not

have entered into the November 2018 Sale Agreement.

       65.     Carmichael’s representations concerning his, the Gallery’s, and the Second

Unnamed Asian Client’s adherence to the 2010 Work Sale Conditions was a basis of the parties’

bargain.

       66.     ISG relied on Carmichael’s representations and deemed them material to its

efforts to ensure its continued participation in the Artist’s exclusive primary market.
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ISG Discovers the Works Were Resold in Violation of the Sale Conditions

          67.    Despite ISG’s Right of First Refusal, in late 2018 ISG was approached by several

different sources offering to sell ISG the 2015 Work for $1,300,000.00.

          68.    Such “shopping” and “flipping” of a work of art by multiple dealers in the

secondary market exposes a work, thereby hurting a collector’s ability to compete in the primary

market, and often results in the work being “burned,” i.e., the value of the work decreases

because of market perception that no one is interested in purchasing it.

          69.    ISG learned from these sources that they had no knowledge of ISG’s earlier sale

of the 2015 Work through Carmichael nor of the crucial 2015 Work Sale Conditions that ISG

had bargained for.

          70.    On 2019-February-08, Carmichael confirmed that the 2015 Work was being

offered for sale for a price of $1,300,000.00 in an email to ISG, writing that the 2015 Work “is

available for 1.3 m USD” in the event that ISG was interested in purchasing it.

          71.    Also, in late 2018, ISG learned that the 2010 Work was not actually sold to an

Asian buyer, as was represented to it by Carmichael, but instead to Doe, an “end purchaser”

based, on information and belief, in Florida.

          72.    On information and belief, Doe had not acquired the 2010 Work from directly

Carmichael, but instead through a group of intermediary art dealers, all based in the United

States.

          73.    On information and belief, Doe had no knowledge of ISG’s earlier sale of the

2010 Work through Carmichael nor of the crucial 2010 Work Sale Conditions that ISG had

bargained for.
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       74.      On information and belief, Doe acquired the 2010 Work for a purchase price of

$1,350,000.00.

ISG Approaches Carmichael in an Attempt to Reacquire the Works

       75.      On or about 2019-February-08, ISG emailed Carmichael concerning Carmichael

and the Gallery’s breaches of the 2015 Work and 2010 Work Sale Restrictions.

       76.      Carmichael responded to ISG that same day admitting that Carmichael did not

maintain control over the 2015 and 2010 Works, despite having agreed to be bound by the Sale

Restrictions.

       77.      Around this time ISG and Carmichael had a call during which Carmichael

admitted that he “regretted” lying to ISG in connection with the November 2018 Sale

Agreement, alluded to the fact that he signed the November 2018 Sale Agreement, and that it

was not actually signed by the Second Unnamed Asian Client such that Carmichael “had no

choice” given the circumstances.

       78.      On information and belief, the signature of Second Unnamed Asian Client on the

November 2018 Sale Agreement was a forgery and not that of an Asian-based client—or any

client—of Carmichael’s.

                                    FIRST CLAIM FOR RELIEF
                       (Breach of the Sale Agreement for the 2015 Work)

       79.      ISG repeats and realleges the Allegations set forth in paragraphs 1 through 78

above as though fully set forth herein.

       80.      In 2018, ISG and Carmichael agreed that ISG would sell to the Gallery, and the

Gallery would buy, on behalf of Carmichael’s First Unnamed Asian Client, the 2015 Work.
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        81.    At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with the power to enter into the contemplated

transaction.

        82.    At the time ISG was contracting with Carmichael and the Gallery, ISG was made

to believe that the Gallery was a viable entity with assets or the availability of assets to pay debts

as they came due.

        83.    ISG and Carmichael and the Gallery agreed to all terms of the sale for the 2015

Work.

        84.    Pursuant to the terms of the parties’ agreement, Carmichael and the Gallery, on

behalf of Carmichael’s First Unnamed Asian Client, agreed to the Three-Year Resale Restriction

and represented that none of them would resell the 2015 Work for a period of three years (i.e.,

until no earlier than 2021).

        85.    Pursuant to the terms of the parties’ agreement, Carmichael and the Gallery, on

behalf of Carmichael’s First Unnamed Asian Client, agreed to the Right of First Refusal and

represented that none of them would offer the 2015 Work for sale without first offering it to ISG

to buy back.

        86.    Pursuant to the terms of the parties’ agreement, Carmichael and the Gallery, on

behalf of Carmichael’s First Unnamed Asian Client, agreed to the Exhibition Right and

represented that the 2015 Work would be made available for exhibition in museums during the

Three-Year Resale Restriction period.

        87.    ISG has performed all of its obligations in connection with the sale of the 2015

Work.
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       88.     Several months after the sale of the 2015 Work to Carmichael’s First Unnamed

Asian Client via the Gallery was completed, ISG learned that the 2015 Work was being offered

for sale and that the buyer apparently had no knowledge of the 2015 Work Sale Conditions ISG

had bargained for.

       89.     Carmichael and the Gallery breached the parties’ agreement concerning ISG’s

sale of the 2015 Work by offering the 2015 Work for sale within three years of the purchase of

the 2015 Work in violation of the Three-Year Resale Restriction.

       90.     Carmichael’s First Unnamed Asian Client breached the parties’ agreement

concerning ISG’s sale of the 2015 Work by offering the 2015 Work for sale within three years of

the purchase of the 2015 Work in violation of the Three-Year Resale Restriction.

       91.     Carmichael and the Gallery breached the parties’ agreement concerning ISG’s

sale of the 2015 Work by offering the 2015 Work for sale without first offering it to ISG to so

that ISG could buy it back, in violation of the Right of First Refusal.

       92.     Carmichael’s First Unnamed Asian Client breached the parties’ agreement

concerning ISG’s sale of the 2015 Work by offering the 2015 Work for sale without first offering

it to ISG to so that ISG could buy it back, in violation of the Right of First Refusal.

       93.     Due to Carmichael’s abuse of the privilege of doing business in the corporate

form the corporate veil of the Gallery must be pierced and Carmichael held personally liable for

the damages resulting from Carmichael’s breaches of the parties’ agreement for the sale of the

2015 Work.

       94.     ISG has suffered damages resulting from ISG’s direct losses stemming from

ISG’s sale of the 2015 Work at a special price, in reliance on Carmichael’s misrepresentations

that ISG Carmichael’s First Unnamed Asian Client agreed to ISG’s 2015 Work Sale Conditions
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in an amount to be determined at trial, due to Carmichael and the Gallery’s breach of the terms

of the parties’ agreement for the sale of the 2015 Work.

        95.    ISG has also suffered damages as a result of the loss of its rights in connection

with any resale in amount to be determined at trial.

        96.    ISG has further suffered damages as a result of the loss of its ability to participate

in the Artist’s exclusive primary market, in amount to be determined at trial, due to the breach by

Carmichael, the Gallery, and Carmichael’s First Unnamed Asian Client’s breaches of the terms

of the parties’ agreement for the sale of the 2015 Work.

                                   SECOND CLAIM FOR RELIEF
                       (Breach of the Sale Agreement for the 2010 Work)

        97.    ISG repeats and realleges the Allegations set forth in paragraphs 1 through 96

above as though fully set forth herein.

        98.    ISG, Carmichael, and Carmichael’s purported Second Unnamed Asian Client

were parties to the November 2018 Sale Agreement for the sale of the 2010 Work.

        99.    At the time ISG was contracting with Carmichael, ISG was made to believe that

the Gallery was a viable entity with the power to enter into the contemplated transaction.

        100.   At the time ISG was contracting with Carmichael, ISG was made to believe that

the Gallery was a viable entity with assets or the availability of assets to pay debts as they came

due.

        101.   Pursuant to the terms of the November 2018 Sale Agreement, Carmichael and

Carmichael’s purported Second Unnamed Asian Client agreed to the 2010 Work Sale

Conditions, i.e., the Three-Year Resale Restriction and the Right of First Refusal.

        102.   ISG has performed all of its obligations in connection with the sale of the 2010

Work.
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       103.      Several weeks after the sale of the 2010 Work to Carmichael and Carmichael’s

purported Second Unnamed Asian Client was completed, ISG learned that the 2010 Work had

been resold via a group of intermediary art dealers and that the end purchaser, based in the

United States, apparently had no knowledge of the 2010 Work Sale Conditions ISG had

bargained for.

       104.      Carmichael breached the November 2018 Sale Agreement by reselling the 2010

Work within three years of the purchase of the 2010 Work, in violation of the Three-Year Resale

Restriction.

       105.      Carmichael’s purported Second Unnamed Asian Client breached the November

2018 Sale Agreement by reselling the 2010 Work within three years of the purchase of the 2010

Work, in violation of the Three-Year Resale Restriction.

       106.      Carmichael breached the November 2018 Sale Agreement by reselling the 2010

Work without first offering it to ISG to so that ISG could buy it back, in violation of the Right of

First Refusal.

       107.      Carmichael’s purported Second Unnamed Asian Client breached the November

2018 Sale Agreement by reselling the 2010 Work without first offering it to ISG to so that ISG

could buy it back, in violation of the Right of First Refusal.

       108.      Due to Carmichael’s abuse of the privilege of doing business in the corporate

form the corporate veil of the Gallery must be pierced and Carmichael held personally liable for

the damages resulting from Carmichael’s breaches of the November 2018 Sale Agreement.

       109.      ISG has suffered damages resulting from ISG’s direct losses stemming from the

breach by Carmichael and Carmichael’s purported Second Unnamed Asian Client of the

November 2018 Sale Agreement because ISG sold the 2010 Work at a special price in reliance
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on the misrepresentations of Carmichael and Carmichael’s purported Second Unnamed Asian

Client that they would adhere to the 2010 Work Sale Conditions in an amount to be determined

at trial, due to Carmichael and the Gallery’s breaches of the November 2018 Sale Agreement.

       110.       ISG has also suffered damages as a result of the loss of its rights in connection

with any resale in amount to be determined at trial.

       111.       ISG has further suffered damages as a result of the loss of its ability to participate

in the Artist’s exclusive primary market, in amount to be determined at trial, due to the breach by

Carmichael, the Gallery, and Carmichael’s Second Unnamed Asian Client’s breaches of the

terms of the November 2018 Sale Agreement.

                                       THIRD CLAIM FOR RELIEF
                                        (Fraud in the Factum)

       112.       ISG repeats and realleges the Allegations set forth in paragraphs 1 through 111

above as though fully set forth herein.

       113.       On information and belief, Carmichael perpetrated a fraud on ISG by misleading

ISG into believing that the Gallery was a viable entity with the power to enter into the

contemplated transaction.

       114.       On information and belief, Carmichael perpetrated a fraud on ISG by misleading

ISG into believing that the Gallery was a viable entity with assets or the availability of assets to

pay debts as they came due.

       115.       On information and belief, Carmichael perpetrated a fraud on ISG by forging the

signature of the purported Second Unnamed Asian Client on the parties’ November 2018

Agreement in order to mislead ISG into believing that it was contracting directly with

Carmichael’s purported Second Unnamed Asian Client when Carmichael knew that ISG was not

so contracting.
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       116.    On information and belief, the parties never agreed to the November 2018

Agreement because there was never a meeting of the minds as a result of Carmichael’s forging of

the signature of the purported Second Unnamed Asian Client.

       117.    On information and belief, as a result of Carmichael’s forgery, the November

2018 Agreement is void ab initio.

       118.    ISG has suffered damages resulting from the fraud perpetrated by Carmichael

through the forgery of the signature of Carmichael’s purported Second Unnamed Asian Client on

the November 2018 Sale Agreement because ISG relinquished possession of the 2010 Work in

amount to be determined at trial due to Carmichael’s fraud.

       119.    ISG has also suffered damages as a result of the loss of its ability to participate in

the Artist’s exclusive primary market, in an amount to be determined at trial.

       120.    On information and belief, given that no contract was formed as a result of

Carmichael’s fraud, ISG is entitled to rescind the sale and to the immediate return of the 2010

Work from Doe.

                                    FOURTH CLAIM FOR RELIEF
                                    (Fraud in the Inducement)

       121.    ISG repeats and realleges the allegations set forth in Paragraphs 1 through 120

above as though fully set forth herein.

       122.    On information and belief, Carmichael fraudulently induced ISG into selling the

2015 Work and the 2010 Work by misrepresenting that ISG would be contracting directly with

Carmichael’s Clients who had purportedly agreed to ISG’s 2015 Work Sale Conditions and

ISG’s 2010 Work Sale Conditions.

       123.    Carmichael’s misrepresentations were material because ISG would not have sold

Carmichael and the Gallery the 2015 Work or the 2010 Work if it had known that neither
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Carmichael, the Gallery, nor Carmichael’s Clients would adhere to the 2015 Work Sale

Conditions and the 2010 Work Sale Conditions.

       124.    ISG’s reliance was reasonable given, among other things, Carmichael’s repeated

representations during the parties’ discussions that Carmichael, the Gallery, and Carmichael’s

Clients would be bound to the 2015 Work Sale Conditions and the 2010 Work Sale Conditions.

       125.    In reasonable reliance on Carmichael’s material misrepresentations, ISG has

suffered damages—including, inter alia, the loss of the difference between the special price and

retail value of the 2015 Work and the 2010 Work at the time of the sale, the loss of its rights in

connection with any resale, and the loss resulting from losing its ability to participate in the

Artist’s exclusive primary market, due to Carmichael’s fraudulent misrepresentations in an

amount to be determined at trial and additional related expenses.

       126.    Because Carmichael engaged in the fraudulent conduct stated in this Complaint

knowingly, willfully, maliciously, and with intent to damage ISG, as demonstrated, on

information and belief, by Carmichael’s forging of the signature of Carmichael’s purported

Second Unnamed Asian Client, ISG is also entitled to an award of punitive damages.

WHEREFORE, ISG demands judgment as follows:

   a. On its first cause of action, awarding ISG compensatory damages in an amount to be

       determined at trial, but no less than Four Hundred Fifty Thousand Dollars ($450,000.00),

       plus interest;

   b. On its second cause of action, awarding ISG compensatory damages in an amount to be

       determined at trial, but no less than Five Hundred Thousand Dollars ($500,000.00), plus

       interest;
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   c. On its third cause of action, ordering the immediate return of the 2010 Work from its

      current possessor, Doe, as well as punitive damages in an amount to be determined at

      trial, plus interest;

   d. On its fourth cause of action, awarding ISG damages, including punitive damages, in an

      amount to be determined at trial, but no less than One Million Dollars ($1,000,000.00),

      plus interest;

   e. Awarding ISG the costs and disbursements of this action, including attorneys’ fees; and

   f. Awarding ISG such other or further relief as the Court deems just and proper.

                                   JURY TRIAL DEMANDED

      Pursuant to FED. R. CIV. P. 38(b), the Gallery demands a trial by jury.


Dated: New York, New York
       2021-July-23
                                                   OLSOFF | CAHILL | COSSU LLP

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